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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

                                                     CASE NO.:
HOWARD COHAN,

      Plaintiff,

vs.                                            INJUNCTIVE RELIEF SOUGHT


DISCOUNT AUTO PARTS, LLC
a Foreign Limited Liability Company
d/b/a ADVANCE AUTO PARTS

     Defendant(s).
____________________________________/

                                   COMPLAINT

      Plaintiff, HOWARD COHAN (“Plaintiff”), by and through the undersigned

counsel, hereby files this Complaint and sues DISCOUNT AUTO PARTS, LLC, a

Foreign Limited Liability Company, d/b/a ADVANCE AUTO PARTS

(“Defendant”), for declaratory and injunctive relief, attorneys’ fees, expenses and

costs (including, but not limited to, court costs and expert fees) pursuant to 42 U.S.C.

§ 12182 et. seq., and the 2010 Americans with Disabilities Act (“ADA”) and alleges

as follows:

                          JURISDICTION AND VENUE

      1.      This Court is vested with original jurisdiction over this action pursuant

to 28 U.S.C. §§ 1331, 343 for Plaintiff’s claims arising under Title 42 U.S.C. § 12182
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et. seq., based on Defendant’s violations of Title III of the ADA. See also, 28 U.S.C.

§§ 2201, 2202, as well as the 2010 ADA Standards.

      2.     Venue is proper in this Court, Orlando Division, pursuant to 28 U.S.C.

§ 1391(B) and Internal Operating Procedures for the United States District Court For

the Middle District of Florida in that all events giving rise to the lawsuit occurred in

Orange County and Seminole County, Florida.

                                       PARTIES

      3.     Plaintiff, HOWARD COHAN is sui juris and is a resident of the State

of Florida residing in Palm Beach County, Florida.

      4.     Upon information and belief, Defendant is the lessee, operator, owner

and lessor of the Real Properties, which are subject to this suit, and are located at

           a. 11600 E Colonial Dr, Orlando, FL 32817 (hereinafter referred to as

             “ADVANCE ORLANDO”);

           b. 1469 Tuskawilla Rd, Oviedo, FL 32708 (hereinafter referred to as

             “ADVANCE OVIEDO”),

(collectively referred to hereinafter as “Premises”), and is the owner of the

improvements where Premises are located.

      5.     Defendant is authorized to conduct, and is in fact conducting, business

within the state of Florida.
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       6.     Plaintiff is an individual with numerous permanent disabilities

including severe spinal stenosis of the lumbar spine with spondylolisthesis; severe

spinal stenosis of the cervical spine with nerve root compromise on the right side; a

non-union fracture of the left acromion (shoulder); a labral tear of the left shoulder;

a full thickness tear of the right rotator cuff; a right knee medial meniscal tear; a

repaired ACL and bilateral meniscal tear of the left knee; and severe basal joint

arthritis of the left thumb. The above listed permanent disabilities and symptoms

cause sudden onsets of severe pain and substantially limit Plaintiff’s major life

activities. As a result of these medical conditions, Plaintiff suffers body weakness,

mobility limitations, abnormal gate, and abnormal balance. Additionally, his ability

to lift, reach, bend, stretch and twist are substantially restricted.

       7.     Plaintiff visited both of the Premises on March 10, 2023. At the time of

Plaintiff’s visits to the Premises on March 10, 2023, (and prior to instituting this

action), Plaintiff suffered from a “qualified disability” under the ADA, and required

the use of fully accessible restrooms and fully accessible paths of travel throughout

the facility. Plaintiff personally visited the Premises, but was denied full and equal

access and full and equal enjoyment of the facilities and amenities within the

Premises, even though he would be classified as a “bona fide patron”.

       8.     Plaintiff, in his individual capacity, will absolutely return to the

Premises and avail himself of the services offered when Defendant modifies the
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Premises or modifies the policies and practices to accommodate individuals who

have physical disabilities.

      9.     Plaintiff is continuously aware of the violations at Defendant's Premises

and is aware that it would be a futile gesture to return to the Premises as long as

those violations exist, and Plaintiff is not willing to suffer additional discrimination.

      10.    Plaintiff has suffered, and will continue to suffer, direct and indirect

injury as a result of Defendant's discrimination until Defendant is compelled to

comply with the requirements of the ADA. Plaintiff’s abnormal medical conditions

and resulting disabilities as listed in the Counts below of this Complaint required the

use of fully accessible restrooms and fully accessible paths of travel throughout the

facility, and otherwise affects Plaintiff’s ability to enjoy places of public

accommodation such as the Premises as further detailed throughout this Complaint.

      11.    Plaintiff would like to be able to be a patron of the Premises in the future

and be able to enjoy the goods and services that are available to the able-bodied

public, but is currently precluded from doing so as a result of Defendant's

discriminatory conduct as described herein. Plaintiff will continue to be precluded

from using the Premises until corrective measures are taken at the Premises to

eliminate the discrimination against persons with physical disabilities.

      12.    Plaintiff frequently travels to the Central Florida area, including Orange

and Seminole Counties. During these trips he visits restaurants, bars, shops, hotels,
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gas stations, entertainment venues, and any other places of public accommodation

in the area. In this area, Plaintiff visits with friends, goes on vacations, and otherwise

takes sporadic trips for shopping and leisure.

       13.    Plaintiff intends return to the area where the Premises is located, as he

has on countless occasions previously, and as he will on countless occasions in the

future.

       14.    Completely independent of the personal desire to have access to this

place of public accommodation free of illegal barriers to access, Plaintiff also acts

as a “tester” for the purpose of discovering, encountering and engaging

discrimination against the disabled in public accommodations. When acting as a

“tester”, Plaintiff employs a routine practice which was employed in this matter.

Plaintiff personally visits the public accommodation, as Plaintiff did here and

engages all of the barriers to access, or at least of those that Plaintiff is able to access.

Plaintiff tests all of those barriers to access to determine whether and the extent to

which they are illegal barriers to access. Plaintiff then proceeds with legal action to

enjoin such discrimination. Upon resolution of the action and an agreement by the

defendant to fix the barriers to access, Plaintiff will subsequently return to the

premises to verify its compliance or non-compliance with the ADA and to otherwise

use the public accommodation as members of the able-bodied community are able

to do. If the premises is not in compliance upon his return, Plaintiff has repeatedly
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brought breach of contract actions against the defendants for their failures to fix the

barriers to access. In some instances, Plaintiff has even filed four and five separate

actions against the same premises so as to ensure that they finally comply with the

ADA.

       15.   Plaintiff fully intends and will return to this Premises in this tester

capacity and will pursue his routine practice of ensuring compliance. Independent

of his personal reasons for subsequent visits to this Premises as outlined above,

Plaintiff intends to visit the Premises regularly to verify its compliance or non-

compliance with the ADA, and its maintenance of the accessible features of

Premises.

       16.   In this instance, Plaintiff, in Plaintiff’s individual capacity and as a

“tester”, visited Premises, encountered barriers to access at Premises, and engaged

and tested those barriers, suffered legal harm and legal injury, and will continue to

suffer such harm and injury as a result of the illegal barriers to access and the ADA

violations set forth herein. It is Plaintiff’s belief that said violations will not be

corrected without Court intervention, and thus Plaintiff will suffer legal harm and

injury in the near future.

       17.   Plaintiff, in his capacity as a tester, will absolutely return to the

Premises when either Defendant enters into an agreement to modify the Premises

and/or an agreement to modify the policies and practices to accommodate
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individuals who have physical disabilities or otherwise advises Plaintiff that the

barriers to access and discriminatory policies have been removed. The purpose of

said visit will be to confirm said modifications and policy changes have been

completed in accordance with the requirements of the ADA.

      VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

      18.      Plaintiff adopts and re-alleges the allegations stated in paragraphs 1

through 17 above as if fully stated herein.

      19.      On July 26, 1990, Congress enacted the Americans With Disabilities

Act (“ADA”), 42 U.S.C. § 12101 et. seq. Commercial enterprises were provided one

and a half (1.5) years from enactment of the statute to implement its requirements.

The effective date of Title III of the ADA was January 26, 1992, or January 26, 1993

if Defendant(s) have ten (10) or fewer employees and gross receipts of $500,000.00

or less. See 42 U.S.C. § 12182; 28 C.F.R. § 36.508(a).

      20.      Congress found, among other things, that:

            a. some 43,000,000 Americans have one or more physical or mental

               disabilities, and this number shall increase as the population continues

               to grow older;

            b. historically, society has tended to isolate and segregate individuals with

               disabilities and, despite some improvements, such forms of
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               discrimination against disabled individuals continue to be a pervasive

               social problem, requiring serious attention;

            c. discrimination against disabled individuals persists in such critical

               areas as employment, housing, public accommodations, transportation,

               communication, recreation, institutionalization, health services, voting

               and access to public services and public facilities;

            d. individuals with disabilities continually suffer forms of discrimination,

               including outright intentional exclusion, the discriminatory effects of

               architectural, transportation, and communication barriers, failure to

               make modifications to existing facilities and practices. Exclusionary

               qualification standards and criteria, segregation, and regulation to lesser

               services, programs, benefits, or other opportunities; and,

            e. the continuing existence of unfair and unnecessary discrimination and

               prejudice denies people with disabilities the opportunity to compete on

               an equal basis and to pursue those opportunities for which our country

               is justifiably famous, and accosts the United States billions of dollars

               in unnecessary expenses resulting from dependency and non-

               productivity.

42 U.S.C. § 12101(a)(1)-(3),(5) and (9).

      21.      Congress explicitly stated that the purpose of the ADA was to:
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            a. provide a clear and comprehensive national mandate for elimination of

               discrimination against individuals with disabilities;

            b. provide clear, strong, consistent, enforceable standards addressing

               discrimination against individuals with disabilities; and

            c. invoke the sweep of congressional authority, including the power to

               enforce the fourteenth amendment and to regulate commerce, in order

               to address the major areas of discrimination faced on a daily basis by

               people with disabilities.

U.S.C. § 12101(b)(1)(2) and (4).

      22.      Pursuant to 42 U.S.C. § 12182(7), 28 C.F.R. § 36.104 and the 2010

ADA Standards, Defendant’s Premises is a place of public accommodation covered

by the ADA by the fact it provides services to the general public and must be in

compliance therewith.

      23.      Defendant has discriminated and continues to discriminate against

Plaintiff and others who are similarly situated, by denying access to, and full and

equal enjoyment of goods, services, facilities, privileges, advantages and/or

accommodations located at the Premises, as prohibited by 42 U.S.C. § 12182 and 42

U.S.C. § 12101 et. seq., and by failing to remove architectural barriers pursuant to

42 U.S.C. § 12182(b)(2)(A)(iv).
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      24.     Plaintiff has visited Premises, and has been denied full and safe equal

access to the facilities and therefore suffered an injury in fact.

      25.     Plaintiff would like to return and enjoy the goods and/or services at

Premises on a spontaneous, full and equal basis. However, Plaintiff is precluded

from doing so by the Defendant’s failure and refusal to provide disabled persons

with full and equal access to their facilities. Therefore, Plaintiff continues to suffer

from discrimination and injury due to the architectural barriers that are in violation

of the ADA.

      26.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice, Officer of the Attorney General promulgated Federal

Regulations to implement the requirements of the ADA. See 28 C.F.R. § 36 and its

successor the 2010 ADA Standards ADA Accessibility guidelines (hereinafter

referred to as “ADAAG”), 28 C.F.R. § 36, under which said Department may obtain

civil penalties of up to $55,000.00 for the first violation and $110,000.00 for and

subsequent violation.

      27.     Based on a preliminary inspection of the Premises, Defendant is in

violation of 42 U.S.C. § 12182 et. seq. and the 2010 American Disabilities Act

Standards et. seq., and is discriminating against Plaintiff as a result of, inter alia, the

following specific violations:
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     I.      ADVANCE ORLANDO

     Unisex Restroom

          a. Failure to provide proper signage for an accessible restroom or failure

             to redirect a person with a disability to the closest available accessible

             restroom facility in violation of 2010 ADAAG §§ 216, 216.2, 216.6,

             216.8, 603, 703, 703.1, 703.2, 703.5 and 703.7.2.1.

          b. Failure to provide operable parts that are functional or are in the proper

             reach ranges as required for a person with a disability in violation of

             2010 ADAAG §§ 309, 309.1, 309.3, 309.4 and 308. (handle)

          c. Failure to provide proper knee clearance for a person with a disability

             under a counter or sink element in violation of 2010 ADAAG §§ 306,

             306.1 306.3, 606 and 606.2

          d. Failure to provide proper toe clearance for a person with a disability

             under a counter or sink element in violation of 2010 ADAAG §§ 306,

             306.1, 306.2, 306.2.1, 606 and 606.2.

          e. Failure to provide the correct opening width for a forward approach into

             a lavatory (sink) in violation of 2010 ADAAG §§ 305, 305.7.1,

             404, 605.3 and 606.2
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        f. Providing a swinging door or gate with improper maneuvering

           clearance(s) due to a wall or some other obstruction in violation of 2010

           ADAAG §§ 404, 404.1, 404.2, 404.2.4 and 404.2.4.1. (sink)

        g. Failure to provide sufficient clear floor space around a water closet

           without any obstructing elements in this space in violation of 2010

           ADAAG §§4.22.3, 603, 603.2.3, 604, 604.3 and 604.3.1. (trash can)

        h. Failure to provide grab bar(s) in violation of 2010 ADAAG §§ 604,

           604.5, 609, 609.4, 609.1 and 609.3. (rear)

        i. Failure to provide flush controls located on the open side of the water

           closet in violation of 2010 ADAAG §§309, 309.4, 604 and 604.6

        j. Failure to provide toilet paper dispensers in the proper position in front

           of the water closet or at the correct height above the finished floor in

           violation of 2010 ADAAG §§ 604, 604.7 and 309.4.

        k. Providing sinks and/or countertops that are greater than the 34 inch

           maximum allowed above the finished floor or ground in violation of

           2010 ADAAG §§606 and 606.3.

        l. Failure to provide soap dispenser at the correct height above the

           finished floor in violation of 2010 ADAAG §§ 606, 606.1 and 308.
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           m. Failure to provide the proper spacing between a grab bar and an object

              projecting out of the wall in violation of 2010 ADAAG §§ 609, 609.1

              and 609.3. (toilet paper dispenser)

           n. Failure to provide the water closet seat at the correct height above the

              finished floor in violation of 2010 ADAAG §§ 604 and 604.4.

           o. Failure to provide paper towel dispenser at the correct height above the

              finished floor in violation of 2010 ADAAG §§ 606, 606.1 and 308.

           p. Failure to provide mirror(s) located above lavatories or countertops at

              the proper height above the finished floor in violation of 2010 ADAAG

              §§ 603 and 603.3.

     Pathway to Front of Store

           q. Failure to provide signage directing individuals with disabilities as to

              where services are provided on the property for individuals with

              disabilities in violation of 2010 ADAAG § 216.6.

     II.      ADVANCE OVIEDO

     Unisex Restroom

           a. Failure to provide proper signage for an accessible restroom or failure

              to redirect a person with a disability to the closest available accessible

              restroom facility in violation of 2010 ADAAG §§ 216, 216.2, 216.6,

              216.8, 603, 703, 703.1, 703.2, 703.5 and 703.7.2.1.
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        b. Providing a swinging door or gate with improper maneuvering

           clearance(s) due to a wall or some other obstruction in violation of 2010

           ADAAG §§ 404, 404.1, 404.2, 404.2.4 and 404.2.4.1. (trash can)

        c. Failure to provide operable parts that are functional or are in the proper

           reach ranges as required for a person with a disability in violation of

           2010 ADAAG §§ 309, 309.1, 309.3, 309.4 and 308. (door handle)

        d. Providing a gate or door with a continuous opening pressure of greater

           than 5 lbs. exceeding the limits for a person with a disability in violation

           of 2010 ADAAG §§ 404, 404.1, 404.2, 404.2.9 and 309.4.

        e. Failure to provide operable parts that are functional or are in the proper

           reach ranges as required for a person with a disability in violation of

           2010 ADAAG §§ 309, 309.1, 309.3, 309.4 and 308. (spray bottle)

        f. Failure to provide the proper spacing between a grab bar and an object

           projecting out of the wall in violation of 2010 ADAAG §§ 609, 609.1

           and 609.3. (toilet paper dispenser)

        g. Failure to provide toilet paper dispensers in the proper position in front

           of the water closet or at the correct height above the finished floor in

           violation of 2010 ADAAG §§ 604, 604.7 and 309.4.
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        h. Providing grab bars of improper horizontal length or spacing as

           required along the rear and side walls in violation of 2010 ADAAG §§

           604, 604.5, 604.5.1 and 604.5.2.

        i. Failure to provide the water closet in the proper position relative to the

           side wall or partition in violation of 2010 ADAAG §§ 604 and 604.2.

        j. Failure to provide the proper spacing between a grab bar and an object

           projecting out of the wall in violation of 2010 ADAAG §§ 609, 609.1

           and 609.3. (dispenser)

        k. Failure to provide grab bars at 33 inches minimum and 36 inches

           maximum above the finished floor measured to the top of the gripping

           surface in violation of 2010 ADAAG §§ 609, 609.4 and 609.7. (rear)

        l. Failure to provide the proper insulation or protection for plumbing or

           other sharp or abrasive objects under a sink or countertop in violation

           of 2010 ADAAG §§ 606 and 606.5.

        m. Failure to provide the correct opening width for a forward approach into

           a lavatory (sink) in violation of 2010 ADAAG §§ 305, 305.7.1,

           404, 605.3 and 606.2

        n. Failure to provide mirror(s) located above lavatories or countertops at

           the proper height above the finished floor in violation of 2010 ADAAG

           §§ 603 and 603.3.
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            Restroom #2

            o. Providing a swinging door or gate with improper maneuvering

               clearance(s) due to a wall or some other obstruction in violation of 2010

               ADAAG §§ 404, 404.1, 404.2, 404.2.4 and 404.2.4.1. (sink)

            p. Providing a swinging door or gate with improper maneuvering

               clearance(s) due to a wall or some other obstruction in violation of 2010

               ADAAG §§ 404, 404.1, 404.2, 404.2.4 and 404.2.4.1. (dispenser)

            q. Failure to provide operable parts that are functional or are in the proper

               reach ranges as required for a person with a disability in violation of

               2010 ADAAG §§ 309, 309.1, 309.3, 309.4 and 308. (handle)

            r. Failure to provide proper signage for an accessible restroom or failure

               to redirect a person with a disability to the closest available accessible

               restroom facility in violation of 2010 ADAAG §§ 216, 216.2, 216.6,

               216.8, 603, 703, 703.1, 703.2, 703.5 and 703.7.2.1.

      28.      To the best of Plaintiff’s belief and knowledge, Defendant has failed to

eliminate the specific violations set forth in paragraph 27 herein.

      29.      Although Defendant is charged with having knowledge of the

violations, Defendant may not have actual knowledge of said violations until this

Complaint makes Defendant aware of same.
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      30.    To date, the readily achievable barriers and other violations of the ADA

still exist and have not been remedied or altered in such a way as to effectuate

compliance with the provisions of the ADA.

      31.    As the owner, lessor, lessee or operator of the Premises, Defendant is

required to comply with the ADA. To the extent the Premises, or portions thereof,

existed and were occupied prior to January 26, 1992, the owner, lessor, lessee or

operator has been under a continuing obligation to remove architectural barriers at

the Premises where removal was readily achievable, as required by 28 C.F.R.

§36.402.

      32.    To the extent the Premises, or portions thereof, were constructed for

occupancy after January 26, 1993 the owner, lessor, lessee or operator of the

Premises was under an obligation to design and construct such Premises such that it

is readily accessible to and usable by individuals with disabilities, as required by 28

C.F.R. §36.401.

      33.    Plaintiff has retained the undersigned counsel for the filing and

prosecution of this action. Plaintiff is entitled to have his reasonable attorneys’ fees,

costs and expenses paid by Defendant, pursuant to 42 U.S.C. § 12205.

      34.    All of the above violations are readily achievable to modify in order to

bring Premises or the Facility/Property into compliance with the ADA.
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       35.      In instance(s) where the 2010 ADAAG standard does not apply, the

1991 ADAAG standard applies and all of the violations listed in paragraph 27 herein

can be applied to the 1991 ADAAG standards.

       36.      Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority

to grant Plaintiff’s injunctive relief, including an order to alter the subject facility to

make them readily accessible to and useable by individuals with disabilities to the

extent required by the ADA and closing the Subject Facility until the requisite

modifications are completed.

       WHEREFORE, Plaintiff demands judgment against Defendant and requests

the following injunctive and declaratory relief:

             1. That this Court declares that Premises owned, operated and/or

                controlled by Defendant is in violation of the ADA;

             2. That this Court enter an Order requiring Defendant to alter their

                facilities to make them accessible to and usable by individuals with

                disabilities to the full extent required by Title III of the ADA;

             3. That this Court enter an Order directing the Defendant to evaluate and

                neutralize their policies, practices and procedures toward persons with

                disabilities, for such reasonable time so as to allow the Defendant to

                undertake and complete corrective procedures to Premises;
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        4. That this Court award reasonable attorney’s fees, all costs (including,

           but not limited to the court costs and expert fees) and other expenses of

           suit to the Plaintiff; and,

        5. That this Court award such other and further relief as it may deem

           necessary, just and proper.


     Dated June 2, 2023.

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